          Case 25-01709                Doc 1           Filed 02/04/25 Entered 02/04/25 08:31:21                                 Desc Main
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 Fill in this information to identify the case:

  United States Bankruptcy Court for the:

  Northern District of Illinois

                                                                      11
  Case number I,,known):                                    Chapter                                                                    ❑ Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1. Debtor's name                         Lutheran Life Communities


2. All other names debtor used
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names



3. Debtor's federal Employer             XX-XXXXXXX
   Identification Number (EIN)



4. Debtor's address                      Principal place of business                                   Mailing address, if different from principal place
                                                                                                       of business
                                            800 West Oakton Street
                                         Number          Street                                        Number      Street


                                                                                                       P.O. Box
                                            Arlington Heights              IL      60004
                                         City                              State     ZIP Code           City                       State      ZIP Code

                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                            Cook County
                                         County
                                                                                                       Number      Street




                                                                                                        City                       State      ZIP Code



5. Debtor's website (URL)


6. Type of debtor
                                         un Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         ❑ Partnership (excluding LLP)
                                         ❑ Other. Specify:



Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                  Lutheran Life Communities
Debtor                                                                                               Case number(llknown),______________
                  Name


                                               A. Check one:
       Describe debtor's business
7.
                                               1ZJ Health Care Business (as defined in 11 U.S.C.§ 101(27A))
                                               □ Single Asset Real Estate (as defined in 11 U.S.C.§ 101(51B))
                                               □ Railroad (as defined in 11 U.S.C.§ 101(44))
                                               □ Stockbroker (as defined in 11 U.S.C.§ 101(53A))
                                               □ Commodity Broker (as defined in 11 U.S.C.§ 101(6))
                                               □ Clearing Bank (as defined In 11 U.S.C.§ 781(3))
                                               □ None of the above
                                               B. Check all that apply:
                                               □x Tax-exempt entity (as described in 26 U.S.C.§ 501)
                                               □§Investment
                                                    B0a-3)
                                                            company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.

                                               □ Investment advisor (as defined in 15 U.S.C.§ 80b-2(a)(11))
                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                  See http://www.naics.com1search/ .
                                                  6233
s. Under which chapter of the                  Check one:
   Bankruptcy Code is the                      D Chapter?
   debtor filing?                              D Chapter 9
                                               IZI Chapter 11. Check all that apply:
                                                                D       Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                    insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                    4/01/25 and every 3 years after that).
       A debtor who is a "small business
       debtor" must check the first sub­                        D     The debtor is a small business debtor as defined in 11 U.S.C.§ 101(51 D). If the
       box. A debtor as defined in                                  debtor is a small business debtor, attach the most recent balance sheet, statement
       § 1182(1) who elects to proceed                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                                    documents do not exist, follow the procedure in 11 U.S.C.§ 1116(1)(8).
       under subchapter V of chapter 11
       (whether or not the debtor is a
       "small business debtor") must
                                                                □ chooses
                                                                    The debtor is a small business debtor as defined in 11 U.S.C.§ 101(51 D), and it
                                                                          to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                                D     A plan is being filed with this petition.

                                                                □ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C.§ 1126(b).

                                                                □ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                    Securities and Exchange Commission according to§ 13 or 15(d) of the Securities
                                                                    Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                    Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                □ The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                    Rule 12b-2.
                                               D Chapter 12


9.    Were prior bankruptcy cases              0No
      filed by or against the debtor
      within the last 8 years?                 i::J Yes. District ________ When ______ Case number _________
                                                                                                    MM/ DD/YYYY
       If more than 2 cases, attach a
       separate list.                                    District ________ When ______ Case number _________
                                                                                MM/ DD/YYYY
10. Are any bankruptcy cases                   0No
      pending or being filed by a
      business partner or an                   IZ!Yes. Debtor   ----------------
                                                                See Rider        Relationship
      affiliate of the debtor?                           District ________________ When
       List all cases. If more than 1,                                                                                            MM / DD /YYYY
       attach a separate list.                           Case number, if known ____________

     Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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             Lutheran Life Communities                                                         Case number (if known)
Debtor
             Name



11. Why is the case filed in this         Check all that apply:
    district?
                                          IA Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have           0 No
    possession of any real                0 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                   O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?

                                                   O It needs to be physically secured or protected from the weather.
                                                   O It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                   O Other


                                                   Where is the property?
                                                                              Number          Street



                                                                              City                                             State      ZIP Code


                                                   Is the property insured?
                                                   1:3 No
                                                   O Yes. Insurance agency
                                                            Contact name

                                                            Phone




IIII       Statistical and administrative information



13. Debtor's estimation of                Check one:
    available funds                          Funds will be available for distribution to unsecured creditors.
                                          CI After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          Ca 1-49                          0 1,000-5,000                                0 25,001-50,000
14. Estimated number of                   0 50-99                          0 5,001-10,000                               0 50,001-100,000
    creditors
                                          LI 100-199                       ❑ 10,001-25,000                              0 More than 100,000
                                          ❑ 200-999

                                          ❑ $0-$50,000                     ❑ $1,000,001-$10 million                     ❑ $500,000,001-$1 billion
15. Estimated assets                      ❑ $50,001-$100,000                 $10,000,001-$50 million                    ❑ $1,000,000,001-$10 billion
                                          ❑ $100,001-$500,000              ❑ $50,000,001-$100 million                   ❑ $10,000,000,001-$50 billion
                                          ❑ $500,001-$1 million            ❑ $100,000,001-$500 million                  0 More than $50 billion


  Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
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                    Lutheran Life Communities                                                          Case number    known)
       Debtor
                    Name

                                                 ❑ $0-$50,000                       O $1,000,001-$10 million                    ❑ $500,000,001-$1 billion
       18. Estimated liabilities                 ❑ $50,001-$100,000                 at $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                                 ❑ $100,001-$500,000                ❑ $50,000,001-$100 million                  O $10,000,000,001-$50 billion
                                                 ❑ $500,001-$1 million              O $100,000,001-$500 million                 ❑ More than $50 billion




     Mr          Request for Relief, Declaration, and Signatures


                                                                                                                     can result in fines up to
       WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement in connection with a bankruptcy case
                  $500,000 or imprisonment   for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


       17. Declaration and signature of              The debtor requests relief In accordance with the chapter of title 11, United States Code, specified in this
           authorized representative of              petition.
           debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the Information is true and
                                                     correct,


                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on 02/04/2025
                                                                MM / DD /vvyy
                                                                                                                      Amy LaCroix
                                                 X /s/      Am, tAC..e...

                                                    Signature of authorized representative of debtor           Printed name

                                                    Title    Secretary




       18, Signature of attorney                  X /s/ David A. Agay                                          Date            02/04/2025
                                                     Signature of attorney for debtor                                          MM    / DD I YYYY


                                                     David A. Agay
                                                    Printed name
                                                     McDonald Hopkins
                                                    Firm name
                                                     300 North LaSalle Street Suite 1400
                                                    Number          Street
                                                     Chicago                                                         IL               60654
                                                    City                                                             Slate            ZIP Code

                                                     312-280-0111                                                     dagay@mcdonaldhopkins.com.
                                                    Contact phone                                                    Email address


                                                     ARDC 6244314                                                              IL
                                                    Bar number                                                       State




                                                                                                                                                      page 4
        Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy
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       Fill in this information to identify the case:

       Debtor name      Lutheran Home and Services for the Aged, Inc., et a/.

       United States Bankruptcy Court for the: Northern                         District of Illinois
                                                                                           (State)
                                                                                                                                                     CI Check if this is an
       Case number (If known):                                                                                                                           amended filing




     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
     Unsecured Claims and Are Not Insiders                                    12/15

     A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
     largest unsecured claims.


      Name of creditor and complete               Name, telephone number,             Nature of the    Indicate if   Amount of unsecured claim
      mailing address, including zip              and email address of creditor       claim (for       claim is      If the claim is fully unsecured, fill in only unsecured claim
      code                                        contact                             example, trade   contingent, amount. If claim is partially secured, fill in total claim
                                                                                      debts, bank      unliquidated, amount and deduction for value of collateral or setoff to
                                                                                      loans,           or disputed calculate unsecured claim.
                                                                                      professional
                                                                                      services, and
                                                                                                                           Total claim, if    Deduction for          Unsecured
                                                                                                                              partially          value of               claim
                                                                                                                              secured          collateral or
                                                                                                                                                  setoff
      Select Rehabilitation                     Attn. Legal Dept                      Trade                                                                         $808,084.60
 I    PO Box 71985                             IP:
      Chicago, IL 60694                         F:




     Healthcare & Family Services                ttn: Legal Dept                      Trade                                                                         $446,990.00
 2    01 S Grand Ave E, 3rd Fl                  P:
     Springfield, IL 62763-0002
                                                hs.rules@illinois.gov
                                                Ff



     CR Improvements LLC                         ttn: Legal Dept                      Trade                                                                         $255,294.00
 3   4130 Downers Dr                            P:
     Downers Grove, IL 60515                    F:
                                                chris@crimprovements.com



      Direct Energy Business                    Attn: Legal Dept                       rade                                                                         $185,587.05
      PO Box 70220                              P: 888-925-9115
      Philadelphia, PA 19176                    F:




       abet Divito & Rothstein LLC              Attn: Legal Dept                      Professional                                                                  $70,177.27
 5    209 S Lasalle St, Fl 7                    P: 312-762-9450                       Services
      Chicago, IL 60604                         F: 312-762-9451




      Thomas Cuisine                            , ttn:                                Professional                                                                  $64,012.21
 6    700 E Franklin Rd                          P:                                   Services
      Meridian, ID 83642                        F:




       onstellation NewEnergy Inc               Attn: Legal Dept                      Trade                                                                          $43,449.55
 7    PO Box 4640                               P:
      Carol Stream, IL 60197                    F:




This list is a consolidated list on behalf of each of the debtors and debtors in possession.
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Debtor: Lutheran Home and Services for the Aged, Inc., et a/.                                Case number (if known):



        Name of creditor and complete       Name, telephone number,       Nature of the        Indicate If   Amount of unsecured claim
        mailing address, including zip      and email address of creditor claim (for           claim is      if the claim is fully unsecured, fill in only unsecured claim
        code                                contact                       example, trade       contingent, amount. If claim is partially secured, fill in total claim
                                                                          debts, bank          unliquidated, amount and deduction for value of collateral or setoff to
                                                                          loans,               or disputed calculate unsecured claim.
                                                                          professional
                                                                          services, and
                                                                                                                Total claim, if        Deduction       Unsecured claim
                                                                                                               partially secured    ' for value of

                                                                                                                                      yV setoff

                                          Attn: Legal Dept                    Professional                                                                  $34,325.00
       3rdThird Marketing LLC
  8    PO Box 803                         P:                                  Services
        ashon, WA 98070                   F:
                                          oatri :k@3rd3rd.com



                                           ttn: Legal Dept                    Trade                                                                         $27,049.13
       McKesson Medical Surgical
  9    PO Box 204788                      P:
       Dallas, TX 75320                   F:



                                                                              Trade                                                                         $25,723.47
     NIPSCO                                ttn: Legal Dept
  10 PO Box 13007
     Merrillville, IN 46411



                                          Attn: Legal Dept                    Trade                                                                         $22,384.69
     Health Care Service Corporation
  11 300 E Randolph St                    P: 8 i0-654-7385
     Chicago, IL 60601                    F:




                                          Attn: Legal Dept                    Trade                                                                         $22,378.00
     Ryan Fire Protection
  12 9740 E 148th St                      P:
     Noblesville, IN 46060                F:




                                               Legal Dept                     Trade                                                                         $16,270.56
     &M Printing Co.
 13 1410 N Meacham Rd
    Schaumburg, IL 60173



                                         Attn: Legal Dept                     'Trade                                                                        $15,350.80
    City of Crown Point
 14 101 North East St                    P:
    Crown Point, IN 46307                •F:




                                          Attn: Legal Dept                    Trade                                                                         $15,300.00
       ,Silversphere LLC
                                         i
                                         P:
 16f     O Box 75701
         hicago, IL 60675                !F:
                                         lacco JntsreceivabIe@sentrics.com



                                          Attn Legal Dept                     Trade                                                                         $15,069.55
    OneNeck IT Solutions LLC
 16 PO Box 85790                          P:
     inneapolis, MN 55485                 F:




        meren Illinois                    Attn: Legal Dept                   —Trade                                                                         $14,883.92
  7     O Box 88034                       P:
        hicago, IL 60680                  F:




                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 2
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Debtor: Lutheran Home and Services for the Aged, Inc., et al.                         Case number (if known):

     Name of creditor and complete         Name, telephone number,       Nature of the    Indicate If   Amount of unsecured claim
     mailing address, including zip        and email address of creditor claim (for       claim Is      If the claim is fully unsecured, fill In only unsecured claim
     code                                  contact                       example, trade   contingent, amount. If claim is partially secured, fill In total claim
                                                                         debts, bank      unliquidated, amount and deduction for value of collateral or setoff to
                                                                         loans,           or disputed calculate unsecured claim.
                                                                         professional
                                                                         services, and
                                                                                                           Total claim, If        Deduction       Unsecured claim
                                                                                                          partially secured      for value of
                                                                                                                                 collateral or
                                                                                                                                    setoff

    Critical HVAC Systems LLC            Attn: Legal Dept                 rade                                                                         $14,155.41
 18 5400 Newport Dr, Ste 1               P:
    Rolling Meadows, IL 60008            F:



    Prime Senior Home Care Inc            ttn: Legal Dept                 rade                                                                         $11,205.00
 19 7331 N Lincoln Ave, Ste 3            P:
    Lincolnwood, IL 60712                F:
                                         prImeseniorcare@gmail.com


    TK Elevator Corporation              Attn: Legal Dept                 rade                                                                         $11,106.24
 20 940 W Adams St, Ste 404              P: 312-733-8025
    Chicago, IL 60607                    F:




35655052.1

    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 3
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        Fill in this information to identify the case and this filing:


        Debtor Name Lutheran Life Communities
        United States Bankruptcy Court for the:     Northern               District of Illinois
                                                                                      (Stele)
        Case number (If known):




       Official Form 202
       Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12115

                                                                                                                 partnership, must sign and submit
       An Individual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation or
                                                                                                                       not Included In the document,
       this form for the schedules of assets and liabilities, any other document that requires a declaration that is
       and any amendments of those documents. This        form must  state the Individual's position or relationship to the debtor, the Identity of the
       document, and the date. Bankruptcy Rules 1008 and 9011.
                                                                                                                     money or property by fraud In
       WARNING -- Bankruptcy fraud Is a serious crime, Making a false statement, concealing property, or obtaining
                  with a bankruptcy case can result In fines up to $500,000 or Imprisonment for up to 20 years, or both, 18 U.S.C. §§ 152, 1341,
       connection
       1619, and 3671.


                   Declaration and signature


                                                                                                                                of the partnership; or
                I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
                another individual serving as a representative of the debtor in this case,
                                                                                                                                      Is true and correct:
                I have examined the information in the documents checked below and I have a reasonable belief that the information


                 ❑ Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

                 ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 ❑ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 ❑ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 ❑ Schedule H: Codebtors (Official Form 206H)

                 ❑ Summary of Assets and Liabilities for Non-Individuals (Official Form 208Sum)

                 ❑ Amended Schedule

                                                                                                                                  Insiders (Official Form 204)
                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not

                 Cal Other document that requires a declaration           Corporate Ownership Statement



                 I declare under penalty of perjury that the foregoing Is true and correct.
                                                                             DocuSlon. by:



                 Executed on ,21L0-0-5"
                                                                    JIC           1A04<4.4e

                                  MM I DD / YYYY                          Signature of Individual signing on behalf of debtor


                                                                           Amy LaCroix
                                                                          Printed name
                                                                              Secretary
                                                                          Position or relationship to debtor



        Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                                    Chapter 11

Lutheran Life Communities,                                Case No. 254              ]

                                 Debtor.                  (Joint Administration Requested)

                                              RIDER I

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        Each of the entities listed below (collectively, the "Debtors") filed a petition in the United
States Bankruptcy Court for the Northern District of Illinois for relief under chapter 11 of title 11
of the United States Code contemporaneously with the above-captioned debtor. The Debtors are
moving for joint administration of each of these cases.


                                                 Debtor

                                  Lutheran Home and Services for the
                                  Aged, Inc.


                                  Lutheran Home for the Aged, Inc.


                                  Luther Oaks, Inc.


                                  Pleasant View Luther Home, Inc.


                                  Wittenberg Lutheran Village, Inc.


                                  Wittenberg Lutheran Village
                                  Endowment Corporation


                                  Lutheran Life Communities

                                  Lutheran Life Communities
                                  Foundation
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                             )      Chapter 11
                                                    )
 Lutheran Life Communities,                         )      Case No. 25-[             ]
                                                    )
                            Debtor.                 )      (Joint Administration Requested)

                                             RIDER I

                          VERIFICATION OF CREDITOR MATRIX

          I, the Corporate Secretary of the above-captioned entity named as a debtor in this case,

hereby verify that the attached list of creditors is true and correct to the best of my knowledge.


Date: February 4, 2025                                  /s/ Amy LaCroix
                                                        By:    Amy LaCroix
                                                        Title: Corporate Secretary




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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In re:                                                 Chapter 11

 Lutheran Life Communities,                             Case No. 25-[            ]

                          Debtor.                       (Joint Administration Requested)

                         CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor's equity interest:

                       Shareholder                           Approximate Percentage

      Lutheran Life Ministries                                 100% (Sole member)
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                                 RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                                         LUTHERAN LIFE MINISTRIES

                                      AND SOLE MEMBER OF
                          LUTHERAN HOME AND SERVICES FOR THE AGED, INC.,
                                       LUTHER OAKS, INC.,
                                PLEASANT VIEW LUTHER HOME, INC.,
                               WITTENBERG LUTHERAN VILLAGE, INC.,
                      WITTENBERG LUTHERAN VILLAGE ENDOWMENT CORPORATION
                                LUTHERAN LIFE COMMUNITIES ; AND
                             LUTHERAN LIFE COMMUNITIES FOUNDATION

                                                   LUTHERAN LIFE MINISTRIES

                                                             February 3, 2025

                      On the date written above, the board of directors (the "Board") of Lutheran Life Ministries,
             an Illinois not-for-profit corporation (the "Company") and the sole member of (i) Lutheran Home and
             Services for the Aged, Inc., an Illinois not-for-profit corporation ("Lutheran Home and Services"),
             (ii) Luther Oaks, Inc., an Illinois not-for-profit corporation ("Luther Oaks"), (iii) Pleasant View
             Luther Home, Inc., an Illinois not-for-profit corporation ("Pleasant View"), (iv) Wittenberg Lutheran
             Village, Inc., an Indiana non-profit corporation ("Wittenberg Lutheran Village"), (v) Wittenberg
             Lutheran Village Endowment Corporation, an Indiana non-profit corporation ("Wittenberg
             Endowment"), (vi) Lutheran Life Communities Foundation, an Illinois not-for-profit corporation
             ("LLCF"); and (vii) Lutheran Life Communities, an Illinois not-for-profit corporation ("LLC"), and
             as an indirect member of Lutheran Home for the Aged, Inc., an Illinois not-for-profit corporation
             ("Lutheran Home for the Aged" and, together with Lutheran Home and Services, Luther Oaks,
             Pleasant View, Wittenberg Lutheran Village, Wittenberg Endowment, LLCF, and LLC, the
             "Entities", and individually, each an "Entity"), held a telephonic/virtual meeting at which a quorum
             was present, whereby the majority of directors present consented to taking of the following actions
             and adopted the following resolutions pursuant to the Company's Constitution/Bylaws and in
             accordance with the Illinois General Not For Profit Corporation Act of 1986, as amended:

                     WHEREAS, each Entity has been investigating strategic alternatives for addressing the
             financial needs of such Entity and its affiliates, reorganizing their business, maximizing the value
             of the assets of such Entity and its affiliates, and protecting each of Lutheran Home and Services,
             Luther Oaks, Pleasant View, Wittenberg Lutheran Village, Wittenberg Endowment, and Lutheran
             Home for the Aged (collectively, the "OG Members") from the appointment of a receiver over the
             OG Members and their assets and the corresponding damaging and value destructive consequences
             of such appointment on the Entities;

                     WHEREAS, the board of directors of each Entity has determined that it is in the best
             interests of each Entity, its creditors, and other interested parties to commence a case under chapter
             11 of title 11 of the United States Code (the "Bankruptcy Code") and to take certain other actions
             to maximize the value of its assets; and
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                     WHEREAS, upon the advice of counsel and other professional advisors, the Board has
             determined that, it is in the best interests of the Company, the Company's creditors, and other
             interested parties for each Entity to commence a case under the Bankruptcy Code and to take
             certain other actions to maximize the value of such Entity's assets.

                     NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                                  Chapter 11 Bankruptcy Cases

                     RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
             the Company, and the Company's creditors, equity holders, and other interested parties, that each
             Entity file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United
             States Bankruptcy Court for the Northern District of Illinois (the "Court");

                     RESOLVED, that each member of the board of directors of each Entity and each officer
             of an Entity (each, an "Authorized Party") is hereby authorized and directed to take, in each case
             with the advice of counsel and the Entity's other advisors, (a) any and all actions necessary or
             appropriate to prepare for and cause such filings to occur, including, without limitation, by causing
             the preparation, execution, verification, and/or filing of all petitions, schedules, statements, lists,
             "first day" motions and applications, and other necessary or appropriate pleadings or papers, and
             (b) any and all other necessary or appropriate actions in furtherance of commencing a bankruptcy
             case (the "Bankruptcy Case"), obtaining necessary or appropriate relief from the Court, and/or
             otherwise transitioning into operating under chapter 11 and any other relevant provisions the
             Bankruptcy Code;

                                                     Retention of Professionals

                      RESOLVED, that, subject to the Court's approval, the law firm of Squire Patton Boggs
             (US) LLP ("SPB") is hereby retained on the terms set forth in SPB's Engagement Letter, dated
             May 6, 2024 (as may be amended or modified from time to time) to serve as the Entities' primary
             bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to advise and
             assist the Entities with respect to all aspects of the Bankruptcy Case, including, without limitation,
             (a) preparing and filing all necessary or appropriate documents to commence the Bankruptcy Case,
             (b) obtaining necessary or appropriate relief from the Court, (c) operating under chapter 11 and
             other relevant provisions of the Bankruptcy Code, and (d) otherwise performing its duties as a
             debtor and debtor-in-possession;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $300,000 previously paid to SPB on account of the services rendered or to be rendered by it;

                      RESOLVED, that McDonald Hopkins LLC ("MN') is hereby retained on the terms set
              forth in its Engagement Letter, dated February 1, 2025 (and as may be amended, restated or
              modified from time to time) to serve as the Entities' Illinois bankruptcy and restructuring counsel;

                     RESOLVED, that the Entities are hereby authorized and directed to continue to
              periodically replenish, as required and as approved by the Court, the retainer in the amount of
              $100,000 previously paid to MH on account of the services rendered or to be rendered by it;


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                     RESOLVED, that, subject to the Court's approval, OnePoint Partners, LLC ("OnePoint")
             is hereby retained on the terms set forth in its Engagement Letter, dated April 25, 2024 (as may be
             amended or modified from time to time) to serve as the Entities' financial advisor in the
             Bankruptcy Case;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $80,000 previously paid to OnePoint on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, Stretto ("Stretto") is hereby retained
             on the terms set forth in its Engagement Letter, dated February 3, 2025 (as may be amended or
             modified from time to time) to serve as the Entities' claims, noticing, solicitation, balloting, and/or
             tabulation agent for the Entities in the Bankruptcy Case;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $10,000 previously paid to Stretto on account of the services rendered or to be rendered by it;

                                                       Use of Cash Collateral

                     RESOLVED, that each Entity, by and through any Authorized Party, is hereby authorized
             and instructed to make such arrangements and take such actions as it deems necessary or proper
             for the Entity to use cash collateral as a debtor-in-possession under chapter 11 of the Bankruptcy
             Code;

                                                Other Bankruptcy Authorizations

                     RESOLVED, that the Entity and each Authorized Party is authorized and empowered to
             (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
             (c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
             such parties deem necessary or appropriate in order to fully carry out the intent and to accomplish
             the purposes of these resolutions;

                     RESOLVED, that any and all past actions previously taken by the officers and/or directors
             of the Entity in the name or otherwise on behalf of the Entity with respect to the commencement
             of the Bankruptcy Case or otherwise in furtherance of any or all of these resolutions are hereby
             ratified, confirmed, and approved; and

                     RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
              reproduction method, and such execution shall be considered valid, binding, and effective for all
              purposes.
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                     IN WITNESS WHEREOF, the Sole Member and Board have adopted these resolutions
             as of the date first written above.



                                                                LUTHERAN LIFE MINISTRIES

                                                                   Signed by:

                                                                  ki(Als        lixya
                                                                Nicholas Terrell
                                                                Corporate Secretary




                   Signature Page to Resolutions of the Board of Directors of Lutheran Life Ministries
             and Sole Member of Lutheran Home and Services for the Aged, Inc., Luther Oaks, Inc., Pleasant
                 View Luther Home, Inc., Wittenberg Lutheran Village, Inc., Wittenberg Lutheran Village
             Endowment Corporation; Lutheran Life Communities Foundation and Lutheran Life Communities
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                                   RESOLUTIONS OF THE BOARD OF DIRECTORS

                                                 LUTHERAN LIFE COMMUNITIES

                                                         February 3, 2025

                     On the date written above, the board of directors (the "Board") of Lutheran Life Communities,
             an Illinois not-for-profit corporation (the "Company"), held a telephonic/virtual meeting at which a
             quorum was present, whereby the majority of directors present consented to taking of the following
             actions and adopted the following resolutions pursuant to the Company's Amended and Restated
             Bylaws and in accordance with the Illinois General Not For Profit Corporation Act of 1986, as
             amended:

                     WHEREAS, the Company has been investigating strategic alternatives for addressing the
             financial needs of the Company and its affiliates, reorganizing their business, maximizing the value
             of the assets of the Company and its affiliates; and protecting the Company's affiliates from the
             appointment of a receiver over such affiliates and their assets and the corresponding damaging and
             value destructive consequences of such appointment and

                     WHEREAS, upon the advice of counsel and other professional advisors, the Board has
             determined that, it is in the best interests of the Company, the Company's creditors, and other
             interested parties to commence a case under chapter 11 of title 11 of the United States Code (the
             "Bankruptcy Code") and to take certain other actions to maximize the value of their assets.

                     NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                                  Chapter 11 Bankruptcy Cases

                     RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
             the Company, and the Company's creditors, equity holders, and other interested parties, that the
             Company file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United
             States Bankruptcy Court for the Northern District of Illinois (the "Court");

                     RESOLVED, that each member of the Board and each officer of the Company (each, an
             "Authorized Party") is hereby authorized and directed to take, in each case with the advice of
             counsel and the Company's other advisors, (a) any and all actions necessary or appropriate to
             prepare for and cause such filings to occur, including, without limitation, by causing the
             preparation, execution, verification, and/or filing of all petitions, schedules, statements, lists, "first
             day" motions and applications, and other necessary or appropriate pleadings or papers, and (b) any
             and all other necessary or appropriate actions in furtherance of commencing a bankruptcy case
             (the "Bankruptcy Case"), obtaining necessary or appropriate relief from the Court, and/or
             otherwise transitioning into operating under chapter 11 and any other relevant provisions the
             Bankruptcy Code;

                    RESOLVED, that the Board recommends that the sole member of the Company, Lutheran
             Life Ministries, an Illinois not-for-profit corporation, approve the Bankruptcy Case;
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                                                    Retention of Professionals

                    RESOLVED, that, subject to the Court's approval, the law firm of Squire Patton Boggs
             (US) LLP ("SPB") is hereby retained on the terms set forth in SPB's Engagement Letter, dated
             May 6, 2024 (as may be amended or modified from time to time) to serve as the Company's
             primary bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to
             advise and assist the Company with respect to all aspects of the Bankruptcy Case, including,
             without limitation, (a) preparing and filing all necessary or appropriate documents to commence
             the Bankruptcy Case, (b) obtaining necessary or appropriate relief from the Court, (c) operating
             under chapter 11 and other relevant provisions of the Bankruptcy Code, and (d) otherwise
             performing its duties as a debtor and debtor-in-possession;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $300,000 previously paid to SPB on account of the services rendered or to be rendered by it;

                     RESOLVED, that McDonald Hopkins LLC ("MH") is hereby retained on the terms set
             forth in its Engagement Letter, dated February 1, 2025 (and as may be amended, restated or
             modified from time to time) to serve as the Company's Illinois bankruptcy and restructuring
             counsel;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $100,000 previously paid to MH on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, OnePoint Partners, LLC ("OnePoint")
             is hereby retained on the terms set forth in its Engagement Letter, dated April 25, 2024 (as may be
             amended or modified from time to time) to serve as the Company's financial advisor in the
             Bankruptcy Case;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $80,000 previously paid to OnePoint on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, Stretto ("Stretto") is hereby retained
             on the terms set forth in its Engagement Letter, dated February 3, 2025 (as may be amended or
             modified from time to time) to serve as the Company's claims, noticing, solicitation, balloting,
             and/or tabulation agent for the Company in the Bankruptcy Case;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $10,000 previously paid to Stretto on account of the services rendered or to be rendered by it;

                                                      Use of Cash Collateral

                    RESOLVED, that the Company, by and through any Authorized Party, is hereby
             authorized and instructed to make such arrangements and take such actions as it deems necessary



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            or proper for the Company to use cash collateral as a debtor-in-possession under chapter 11 of the
            Bankruptcy Code;

                                               Other Bankruptcy Authorizations

                    RESOLVED, that the Company and each Authorized Party is authorized and empowered
            to (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
            (c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
            such parties deem necessary or appropriate in order to fully carry out the intent and to accomplish
            the purposes of these resolutions;

                     RESOLVED, that any and all past actions previously taken by the officers and/or directors
             of the Company in the name or otherwise on behalf of the Company with respect to the
             commencement of the Bankruptcy Case or otherwise in furtherance of any or all of these
             resolutions are hereby ratified, confirmed, and approved; and

                   RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
            reproduction method, and such execution shall be considered valid, binding, and effective for all
            purposes.




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                    IN WITNESS WHEREOF, the Board has adopted these resolutions as of the date first
            written above.

                                                                    —DocuSigned by:

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                                                                   Amy LaCroix
                                                                   Corporate Secretary




                                   Signature Page to Resolutions of the Board of Directors of
                                                 Lutheran Life Communities
